     Case 3:15-cr-00240-MHT-CSC Document 140 Filed 08/13/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA                              L'CEIVED
                                  EASTERN DIVISION

UNITED STATES OF AMERICA                                                             2020   AUG I 3 A 10, 0 1

                v.                                                                   1S VRAICCIf‘ECTOTURCTIJC
                                                   CR. NO. 3:15-CR-240-MHT-CSJPSRR F!.
                                                                                               mTriCT ALA
STEPHEN HOWARD


                           GOVERNMENT'S MOTION TO SEAL

       Comes now the United States of America, by and through Louis V. Franklin, Sr., United

States Attorney for the Middle District of Alabama, and Mark E. Andreu, Assistant United States

Attorney, and respectfully requests that Government's Exhibits be sealed. The Exhibits contain

sensitive information that should not be available to the public.



       Respectfully submitted this 13th day of August 2020.

                                                     LOUIS V. FRANKLIN,
                                                     UNITED STA S A ORN . EY


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     Case 3:15-cr-00240-MHT-CSC Document 140 Filed 08/13/20 Page 2 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                 EASTERN DIVISION

UNITED STATES OF AMERICA

              v.                                           CR.NO. 3:15-CR-240-MHT-CSC

STEPHEN HOWARD

                                    CERTIFICATE OF SERVICE

       I hereby certify on August 13, 2020, I have served a copy ofthe foregoing with the Clerk

of Court and hand delivered a copy of same to Stephen P. Ganter, Federal Defenders.



                                            Respectfully submitted,

                                           LOUIS V. FRANKLIN, SR.
                                           UNITED STATES ATTO


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